 AOC-E-105 Case:Sum5:21-cv-00265-KKC
                     Code: CI        Doc #: 1-1 Filed: 10/18/21 Page: 1 of 11 - Page ID#: 5
 Rev. 9-14                                                          Case #: 21-C1-02847
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice       Courts.ky.gov                                                  County: FAYETTE
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ALLEN, KODEY J. VS. SRC OF LEXINGTON, INC., Defendant


    TO: SRC OF LEXINGTON, INC.
        LIRA JOHNSON ESQ.
        101 SOUTH FIFTH STREET,SUITE 2500
        LOUISVILLE, KY 40202
Telephone #: 502-540-2300                         Email: LIRA.JOHNSON@DINSMORE.COM


The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you,judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s)and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.


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                                                                                                Fayette Circuit Clerk
                                                                                                Date: 9/20/2021




                                                 Proof of Service
    This Summons was:

❑ Served by delivering a true copy and the Complaint(or other initiating document)
       To:

❑ Not Served because:

    Date:                               , 20
                                                                                             Served By


                                                                                                Title

Summons ID: 387459126149900@00001006394
CIRCUIT: 21-CI-02847 Certified Mail
ALLEN, KODEY J. VS. SRC OF LEXINGTON, INC.


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                                  COMMONWEALTH OF KENTUCKY
                                  FAYETTE COUNTY CIRCUIT COURT
                                      22nd JUDICIAL CIRCUIT
                                                DIVISION
                                         21-CI-

   KODEY J. ALLEN                                                                     PLAINTIFF,

   V.

   SRC OF LEXINGTON,INC.                                                            DEFENDANT.
        SERVE: Lira A. Johnson
               DINSMORE & SHOHL LLP
                101 South Fifth St., Ste. 2500
                Louisville, KY 40202
                502-540-2300
                Lira.johnson@dinsmore.com
               Counselfor Defendant


                                             COMPLAINT


              Plaintiff Kodey J. Allen ("Plaintiff'), states the following Complaint against

   Defendant SRC of Lexington,Inc.("Defendant"):

                                   JURISDICTION AND VENUE

         1. Plaintiff is a resident and domiciliary of the Commonwealth of Kentucky, residing

              within Fayette County, Kentucky.

         2.   Plaintiffs injury occurred in Kentucky and Kentucky has personaljurisdiction over

              Defendant as a Kentucky Corporation.

         3. Defendant operated as a Kentucky Corporation during Plaintiffs tenure with

              Defendant.

         4. Defendant's principal office is in Springfield, Missouri.

         5. Venue is proper in Fayette County, Kentucky as the location of Plaintiffs injury

              pursuant to KRS 452.460.

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        6. The amount in controversy is in excess ofseventy-five thousand dollars($75,000),

           which exceeds the jurisdictional minimum amount ofthis Court.

                                        BACKGROUND

        7. Plaintiff was directly employed with Defendant from April 27, 2018 to June

           2019 after working for Defendant through a staffing agency from January 2018 to

           April 26, 2018.

        8. Defendant remanufactures large engines, hydraulics and power train components

           used in mining, construction, and power generation.

        9. Plaintiff was employed with Defendant as a Technician.

        10.Plaintiff is an African-American man.

        11. During his tenure, Plaintiff complained to his direct supervisor, Daryl Nipper

          ("Nipper"), regarding a Confederate Flag that a coworker drew on the premises

          (also known as a "rebel flag").

        12. The drawing of the Confederate Flag was accompanied by the phrase "A few         more

           rednecks."

        13. The employee who had depicted the flag was William "Tyler" Matthews

          ("Matthews").

        14. Plaintiff made the above complaint on or about February 1, 2019.

        15. During the above complaint, Plaintiff invoked the racially offensive nature of the

           Confederate Flag.

        16. Subsequent to Plaintiffs complaint regarding the flag, Nipper sent Plaintiff a text

           message that read,"I'm looking into it, any idea who it might've been."

        17. On February 12, 2019, Plaintiff signed a Performance Evaluation where only three

          (3)out ofthirteen(13)categories were marked "needs improvement," with the rest

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            ofthe categories being marked "meets expectations." A supervisor also signed this

            performance evaluation.

         18. Within two (2) weeks after the above complaint, Defendant changed Plaintiffs

            work schedule, moving him the weekend shift, where was forced to individually

            perform tasks for which he previously enjoyed the assistance offour(4)coworkers.

         19. Plaintiff did not request the weekend shift.

         2o.Also working the weekend shift was another African-American man named

            Charles Green("Mr. Green").

         21. Defendant employed    Mr. Green from around June of 2018 to around February of

            2020.

         22.Mr. Green chose to work on the weekends because he had a differentjob where he

            worked Monday through Thursday.

         23.Mr. Green worked in the vicinity of Plaintiff, but the two men performed different

            tasks.

         24.Both Plaintiff and Mr. Green were tasked with deconstructing or "tearing down"

            different parts.

         25.Plaintiff was tasked with tearing down cylinder heads.

         26.Mr. Green was tasked with tearing down bulldozer transmissions.

         27.The tearing down process involved several steps.

         28.These steps included sending the parts through the "hot tank" to clean off paint.

         29.These steps also include buffing the parts to get them fully clean.

         30.Tearing down is a time-consuming process.

         31. The hot tank takes around an hour to finish one round of cleaning.

         32.The hot tank can only fit seven(7)or eight(8)parts at a time on its crate.

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        33.All individuals on a given shift have to share the same hot tank.

        34.Subsequent to Plaintiffs complaint to Nipper regarding the Confederate Flag,
            about a month or two before Plaintiffs termination, Nipper informed Plaintiffthat

           [Plaintiff] had a bullet on his back.

        35.Nipper made this remark in the vicinity of Mr. Green.

        36.Nipper once asked Mr. Green if he(Mr. Green)suffered from Dementia.

        37.On or about June 7, 2019, Plaintiff received a "last chance agreement" from

           Defendant, accusing Plaintiff of"low efficiency."

        38.Defendant's policy handbook, at least the version in effect on June of 2019, says

           nothing about efficiency rates or expectations thereof.

        39.On June 7, 2019, Plaintiffs Team Leader, Arthur Austin ("Austin"), administered

           to Plaintiff a breathalyzer test.

        40.Austin was friends or at least good acquaintances with Matthews.

        41. The breathalyzer test indicated that Plaintiff had a blood alcohol content(BAC)of

           0.06 and upon re-administration, o.o55.

        42.Prior to the administration of the breathalyzer test, Plaintiff had not caused any

           accidents or injuries to himself or anyone else on June 7, 2019.

        43.The legal limit for driving in Kentucky is a BAC of 0.08.

        44.Plaintifftried to explain that his BAC was a false positive and/or that it was positive

           because he had had drinks the night before.

        45.Alcohol can be reflected on a breathalyzer test for up to twenty-four (24) hours

           after drinking.'



    https://vertavahealth.com/blog/blood-alcohol-level-detection-time/

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        46.On June 7, 2019, Plaintiff was suspended.

        47.On June 11, 2019,Plaintiff was terminated via a phone call from Human Resources
           Director, Natasha Humphreys("Humphreys").

        48.Plaintiff tried to explain to Humphreys that it was a false positive and that he had

           consumed multiple protein bars for lunch, which in addition to drinking the night

           before, can register on a breathalyzer test, but Humphreys would not listen and

           proceeded with the termination.

        COUNT ONE:DISCRIMINATION IN VIOLATION OF TITLE VII OF THE
        CIVIL RIGHTS ACT OF 1964("Title VII"
                                           ),42 U.S.C.§ 2000e etseq.AND
         THE  KENTUCKY  CIVIL RIGHTS  ACT  ("KCRA" ),KRS 344.010 etseq.

        49.Plaintiff adopts by reference all preceding and subsequent averments.

        50.Plaintiff is an African American man.

        51. Defendant terminated Plaintiff despite him meeting expectations on all but three

          (3)out of thirteen (13)categories in his 2019 performance evaluation.

        52.Defendant terminated Plaintiff after Plaintiff registered a o.o6 and then 0.055 BAC

           on a breathalyzer test.

        53.Prior to Plaintiffs termination, Defendant had not immediately (i.e., within the

           same day or week)terminated Caucasian employees that were visibly impaired by

           alcohol in the workplace or whose breath smelled like alcohol in the workplace.

        54.Prior to Plaintiffs termination, Defendant had not immediately (i.e., within the

           same day or week) terminated Caucasian employees whose breathalyzer test

           revealed any amount of alcohol.

        55. Defendant has employed one or more Caucasian or non-African-American

           employees whom it did not terminate for at least one (1) month following

           Defendant's reasonable suspicion that one or several of such employees were

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           intoxicated in the workplace, smelled of alcohol in the workplace, and/or

           registered any amount of alcohol on a breathalyzer test.

        56.There was a Caucasian employee named Johnny, who appeared impaired at work

           on at least one occasion, but who kept his job for at least a month after appearing

           impaired.

        57. Defendant chose not to administer a breathalyzer test on Johnny.

        58.Defendant did administer a breathalyzer test on Johnny and it reflected a BAC over

           0.0o.

        59.By terminating Plaintiff but not his Caucasian counterparts such as Johnny, and

           for terminating Plaintiff despite his meeting expectations in all but three (3)

           categories of his 2019 performance review, Defendant engaged in disparate

           treatment towards Plaintiff with regard to his race (African-American).

        6o.Racially disparate treatment violates Title VII and the KCRA.

        6i. For violation of the KCRA, Defendant is liable to Plaintiff for compensatory

           damages, front pay, back pay, attorney's fees, and any other applicable type of

           damages.

        62.For violation of Title VII, Defendant is liable to Plaintifffor punitive damages.


    COUNT TWO:RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL
     RIGHTS ACT OF 1964(
                       "Title VII"
                                 ),42 U.S.C.§ 2000e etseq.AND THE
        KENTUCKY CIVIL RIGHTS ACT(  "KCRA"  )
                                            ,KRS 344.010 etseq.

        63.Plaintiff adopts by reference all preceding and subsequent averments.

        64.On or about February 1, 2019, Plaintiff complained to his supervisor, Nipper,

           regarding a Confederate Flag drawn in the workplace.




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        65.On the same day, Nipper sent Plaintiff a text message asking,"I'm looking into it,

           any idea who it might've been."

        66.On February 12, 2019, Plaintiff signed a performance evaluation where only three

          (3)out ofthirteen(13)categories were marked "needs improvement," with the rest

           ofthe categories being marked "meets expectations." A supervisor also signed this

           performance evaluation.

        67.Subsequent to Plaintiffs complaint to Nipper, Plaintiffs work schedule was

           transferred to the weekend shift.

        68.Subsequent to Plaintiffs complaint to Nipper, Plaintiff was issued a "last chance

           agreement."

        69.For violation of the KCRA, Defendant is liable to Plaintiff for compensatory

           damages, front pay, back pay, attorney's fees, and any other applicable type of

           damages.

        70.For violation of Title VII, Defendant is liable to Plaintifffor punitive damages.

   WHEREFORE,Plaintiff respectfully requests that this Court award:

            A. Judgment against Defendant, including compensatory damages, punitive

    damages,liquidated damages,prejudgment interest,front pay,and backpay,in excess of

    the minimum jurisdictional amount of this Court,in an amount to be proven at trial;

            B. Trial byjury;

            C. Plaintiffs costs herein expended including an award of reasonable attorney's

   fees; and

            D. Such other relief to which he may be entitled.




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                                                         Respectfully Submitted,

                                                         MEYMAN LAW PLLC

                                                         \s\ H. Gera Meyman,Esq.
                                                         P.O. Box 54693
                                                         Lexington, KY 40555
                                                         Telephone: 859-600-6529
                                                         Emalgera@meymanlaw.com
                                                         ATTORNEY FOR PLAINTIFF




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    Date Produced: 10/04/2021

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